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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE

 PATRICIA MCBREAIRTY,                                )
                                                     )
               Plaintiff,                            )
                                                     )
 v.                                                  )      CASE NO. 1:24-cv-00053-LEW
                                                     )
 BREWER SCHOOL DEPARTMENT et al.,                    )
                                                     )
               Defendants                            )

  MEMORANDUM OF DEFENDANT MICHELLE MacDONALD IN OPPOSITION
 TO PLAINTIFF’S MOTION FOR CONTINUANCE OF PROCEDURAL ORDER AND
                    [TO] RESET SCHEDULING ORDER

                                    I.      INTRODUCTION

        The Estate of Shawn McBreairty (“Estate”) has moved to suspend the deadlines

 set forth in the Court’s January 10, 2025 Procedural Order (ECF Doc. 75) and reopen

 discovery (closed just under 3 months ago) in the above-captioned matter. Because the

 motion comes too late and fails to articulate sufficient justification for the relief it seeks,

 it must be denied.

        Defendants Brewer School Department, Gregg Palmer, and Brent Slowikowski

 (collectively, “Brewer”) have submitted their opposition to the Estate’s motion (ECF

 Doc. 77). In it, Brewer accurately recounts the relevant procedural history of this matter

 and the law regarding the “good-cause” standard that applies to certain motions to extend

 deadlines. Instead of repeating Brewer’s account, Ms. MacDonald incorporates Brewer’s

 entire submission by reference here.




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                                     II.    ARGUMENT

          In one respect, Ms. MacDonald’s position on the Estate’s motion diverges from

 Brewer’s. In discussing the difference between a motion to extend a deadline filed before

 the deadline has expired versus a motion filed after expiration of the deadline, this Court

 has explained:

          “In the ordinary course, a litigant who seeks an extension of time must
          show good cause for the desired extension.” Rivera-Almodovar v. Instituto
          Socioeconomico Comunitario, 730 F.3d 23, 26 (1st Cir. 2013) (citing Fed.
          R. Civ. P. 6(b)(1)). Similarly, when a party seeks to modify or extend a
          deadline in a scheduling order, such an order “may be modified only for
          good cause and with the judge’s consent.” Fed. R. Civ. P.
          16(b)(4); see Trans-Spec Truck Serv. v. Caterpillar Inc., 524 F.3d 315, 327
          (1st Cir. 2008) (“The deadlines established in the scheduling order may be
          extended on a showing of good cause.”). “Rule 16's ‘good cause’ standard
          focuses on the diligence (or lack thereof) of the moving party more than it
          does on any prejudice to the party-opponent.” Somascan, Inc. v. Philips
          Med. Sys. Nederland, B.V., 714 F.3d 62, 64 (1st Cir. 2013) (quotation
          marks omitted); see O'Connell v. Hyatt Hotels, 357 F.3d 152, 154 (1st Cir.
          2004) (recognizing that a “court may extend a scheduling order deadline on
          a showing ‘of good cause if the [deadline] cannot reasonably be met despite
          the diligence of the party seeking the extension’”) (alteration in original)
          (quoting Advisory Committee Notes to the 1983 Amendments to Fed. R.
          Civ. P. 16(b))). In contrast, when a deadline has already expired, a court
          may permit an extension of time “if [a] party failed to act because of
          excusable neglect.” Fed. R. Civ. P. 6(b)(1)(B); see Tubens v. Doe, 976 F.3d
          101, 104-105 (1st Cir. 2020) (discussing excusable neglect standard).

 Joy v. Host Int'l, Inc., 2021 U.S. Dist. LEXIS 77115, *3-4 (emphasis added); see also,

 Rivera-Almodovar v. Instituto Socioeconomico Comunitario, 730 F.3d 23, 26 (1st Cir.

 2013).

          Whether neglect is excusable for purposes of a motion to extend an expired

 deadline depends on four factors: (1) the danger of prejudice to the party opposing the

 motion; (2) the length of the delay and its potential impact on judicial proceedings; (3)

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 the reason for the delay, including whether it was within the reasonable control of the

 movant, and (4) whether the movant acted in good faith. Pioneer Inv. Servs. v. Brunswick

 Assocs. Ltd. P'ship, 507 U.S. 380, 395 (1993). However,

           “[t]he four Pioneer factors do not carry equal weight; the excuse given for
           the late filing must have the greatest import. While prejudice, length of
           delay, and good faith might have more relevance in a closer case, the
           reason-for-delay factor will always be critical to the inquiry.” Hosp. del
           Maestro v. NLRB, 263 F.3d 173, 175 (1st Cir. 2001) (quoting Lowry v.
           McDonnell Douglas Corp., 211 F.3d 457, 463 (8th Cir. 2000)). “Even
           where there is no prejudice, impact on judicial proceedings, or trace of bad
           faith, ‘[t]he favorable juxtaposition of the[se] factors’ does not excuse the
           delay where the proffered reason is insufficient.” In re Sheedy, 875 F.3d
           740, 744 (1st Cir. 2017) (quoting Hosp. del Maestro, 263 F.3d at 175).

 Tubens v. Doe, 976 F.3d 101, 106 (1st Cir. 2020).

           In its motion, the Estate makes no reference to any standard by which its request

 for relief should be measured, and does not make any effort to explain how its reasons for

 failing to complete discovery prior to the deadline satisfy the requirements of any

 potentially applicable standard. From the Estate’s motion, all that can be determined

 about the reasons for its failure to conduct discovery within the time provided in the

 Scheduling Order is that (a) Shawn McBreairty passed away on June 3, 2024; (b) the

 parties did not meet and confer prior to June 24, 2024 as contemplated in the Scheduling

 Order; and (c) Mr. McBreairty’s estate was not substituted as a party until September 6,

 2024. 1

           Turning to the Pioneer factors, Ms. MacDonald is prepared to concede that the

 danger of prejudice to her weighs only slightly in her favor (she has complied with the

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  The Estate also asserts that the parties did not exchange initial disclosures, but as Brewer’s submissions in
 opposition to the motion demonstrate, that is not the case. The Plaintiff did not serve initial disclosures, but all other
 parties did so within the deadlines established in the Scheduling Order.

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 relevant Scheduling Order deadlines and has a significant interest in seeing this litigation

 concluded expeditiously), and the question of the Estate’s good faith does not weigh

 against a finding of excusable neglect. On the strength of the other two factors, however,

 the Estate is not entitled to a finding that its neglect was excusable.

        First, more than six weeks elapsed between the date on which the Estate was

 substituted as Plaintiff and the discovery deadline. During that period, the Estate took no

 steps to pursue any discovery initiative. Moreover, even after the deadline passed, the

 Estate made no effort to pursue discovery and waited another 88 days before filing its

 motion. That delay is considerable and completely unexplained. The length-of-delay

 factor therefore weighs against the Estate. See Hispanic Fed'n v. Uriarte-Otheguy, 2024

 U.S. Dist. LEXIS 13871, *5 (unexplained delay of two months after discovery deadline

 weighed against finding of excusable neglect).

        Most importantly, the Estate has failed entirely to satisfy the third factor, the

 reason for the delay and whether it was under the Estate’s reasonable control. The

 unfortunate passing of the original Plaintiff in this matter occurred on June 3, 2024.

 Between June 3, 2024 and January 16, 2025, the Plaintiff made eight filings in this matter

 (ECF Doc. Nos. 52, 55, 57, 59, 63, 69, 72, and 73). Five of those filings were made

 before the close of discovery. Even if it were true that the Estate was not in a potion to

 undertake discovery before September 6, 2024, nothing in the Estate’s motion explains

 why it did nothing at all about discovery from September 6, 2024 until January 16, 2025.

 Certainly, the fact that there were at least two court filings by the Estate in this matter



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 during that time (ECF Doc. Nos. 59, 63) strongly suggests that its failure to pursue

 discovery or to seek additional time was not caused by circumstances beyond its control.

                                    III.   CONCLUSION

        For all the foregoing reasons, and for the reasons set forth in Brewer’s opposition

 to the Estate’s motion, the Plaintiff’s Motion For Continuance Of Procedural Order And

 [To] Reset Scheduling Order must be denied.

        Dated at Portland, Maine this17th day of January 2025.

                                           /s/ James B. Haddow
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                             CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2025, I filed a true and correct copy of the

 foregoing document with the Clerk of Court using the CM/ECF system. Notice of this

 filing will be sent by e-mail to all counsel of record through the CM/ECF system.




                                           /s/ James B. Haddow
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